                                                                     SO ORDERED.


                                                                     Dated: December 10, 2019
1

2
                                                                     ______________________________________
3
                                                                     Madeleine C. Wanslee, Bankruptcy Judge

4
 5
 6
                              IN THE UNITED STATES BANKRUPTCY COURT
 7
                                    FOR THE DISTRICT OF ARIZONA
 8

 9   In Re:                                                Case No. 2: l 9-bk-07845-MCW
10
      JOSHUA B. BANE,
11    TIARA Y. CANIDY-BANE                                 STIPULATED ORDER CONFIRMING ORGINAI
                                                           CHAPTER 13 PLAN
12

13                      Debtor

14

15
              The Chapter 13 Plan having been properly noticed out to creditors and any objection to
16
     confirmation having been resolved.
17

18   IT IS ORDERED confirming the Original Plan ("Plan") of the Debtor as follows:
19
20   (A) INCOME SUBMITTED TO THE PLAN. Debtors shall submit the following amounts of
     future income to the Trustee for distribution under the Plan.
21
     ( 1) Future Earnings or Income. Debtors shall make the following monthly Plan payments:
22
23                                        Amount
                        Months
24                      1-4               $951
25                      5-60              $1055

26

                                                                                                 In Re: Brme
                                                                                            2-l 9-BK-07845-MCW


     Case 2:19-bk-07845-MCW          Doc 27 Filed 12/10/19 Entered 12/11/19 07:52:23                Desc
                                     Main Document    Page 1 of 6
1             The payments are due on or before the 25TH day of each month commencing July 25,

2    2019. Debtor is advised that when payments are remitted late, additional interest may accrue
     on secured debts which may result in a funding shortfall at the end of the Plan term. Any
3
     funding shortfall must be cured before the plan is deemed completed.
4
               The Debtors shall provide to the Trustee copies of their federal and state income tax
5
      return for post-petition years 2019- 2022 within 30 days of filing them. The purpose is to assist
6     the Trustee in determining any change in Debtors' annual disposable income.
7             (2) Other Property. The Debtors shall provide, directly to the Trustee their net federal
8     and state income tax refunds for the years 2019 through 2022, as supplements to the plan. In the

9     event that other property is submitted, it shall be treated as supplemental payments.
              (B) DURATION. This Plan shall continue for 60 months from the first regular
10
       monthly payment described in Paragraph (A)(l) above. If at any time before the end of the Plan
11
       period all claims are paid, then the Plan shall terminate. In no event will the term of the Plan be
12     reduced to less than 60 months, exclusive of any property recovered by the Trustee, unless all
13     allowed claims are paid in full.

14             (C) CLASSIFICATION AND TREATMENT OF CLAIMS. Claims shall be
       classified as listed below. The Plan and this Order shall not constitute an informal proof of
15
       claim for any creditor. This Order does not allow claims. Claims allowance is determined by
16
       §502 and the Federal Rules of Bankruptcy Procedure. The Trustee shall receive the
17
       percentage fee on the Plan payments pursuant to 28 U.S.S.§ 586(e), then the Trustee will pay
18
       secured creditors or allowed claims in the following order:
19           (1) Administrative expenses: Attorney Fees. Thomas McAvity, shall be allowed total
20           compensation of $4478. Counsel received $22 prior to filing this case and will be paid

21           $4456 by the Chapter 13 Trustee.

22           (2) Claims Secured by Real Property: NONE
             (3) Claims Secured by Personal Property:
23
                     (a) Exeter Financial, secured by a lien in a 2016 Dodge Caravan shall be paid a
24
                     secured claim of $17108.47 with 7% interest. The creditor will receive adequate
25
                     protection payments of $200 per month.
26

                                                                                                    /11 Re: Ba11e
                                                                                               2-l 9-BK-07845-MCW


     Case 2:19-bk-07845-MCW           Doc 27 Filed 12/10/19 Entered 12/11/19 07:52:23                   Desc
                                      Main Document    Page 2 of 6
 I                (b) Ally Financial, secured by a lien in a 2016 Dodge Journey shall be paid a

2                 secured claim of$13500 with 7% interest. The creditor will receive adequate
                  protection payments of $200 per month.
3
                  (c) Conns Appliances, secured by a lien in electronic equipment shall be paid a
4
                  secured claim of $2,595.68 with 6.25% interest. The creditor will receive
 s                adequate protection payments of $50 per month.
 6                (d) Acceptance Now, secured by a lien in furniture shall be paid a secured claim
 7                of $3153. 99 with 7% interest. The creditor will receive adequate protection

 8                payments of $50 per month
           (4) Unsecured Priority Claims:
 9
                  a.      The Internal Revenue Services shall be paid un unsecured priority claim of
10
                          $766.25 with no interest. The balance of the remaining debt shall be
11
                          classified as general unsecured debt.
12                b.      The Arizona Department of Revenue shall be paid un unsecured priority
13                        claim of $582. 72 with no interest. The balance of the remaining debt shall

14                        be classified as general unsecured debt.
           (5) Surrendered Property. Upon confirmation of this plan or except as otherwise ordered
IS
           by the Court, bankruptcy stays are lifted as to collateral to be surrendered. Such creditor
16
           shall receive no distribution until the creditor timely files a claim or an amended proof of
17
           claim that reflects any deficiency balance remaining on the claim. Assuming the creditor
18         has an allowed proof of claim, should the creditor fail to file an amended claim consistent
19         with this provision, the Trustee need not make any distributions to that creditor. Debtors
20         surrender the following property: The Debtor surrenders the following property:

21                a. NONE
           (6) Other Provisions:
22
                  (a) Debtor is instructed to remit all payments on or before the stated date each
23
                  month, Debtor is advised that when payments are remitted late, additional interest
24
                  may accrue on secured debts, which may result in a funding shortfall at the end of
25                the plan term. Any funding shortfall must be cured before the case can be
26                discharged. This requirement is effective regardless of Plan payment suspension,
                  waivers or moratoriums.
                                                                                                111 Re: Ba11e
                                                                                          2-l 9-BK-07845-MCW


     Case 2:19-bk-07845-MCW        Doc 27 Filed 12/10/19 Entered 12/11/19 07:52:23                  Desc
                                   Main Document    Page 3 of 6
                     (b) The Plan and Order shall not constitute an informal proof of claim for any

2                    creditor.
              (7) Unsecured Nonpriority Claims. Claims allowance is determined by § 502 and the
3
             Federal Rules of Bankruptcy Procedure. Allowed unsecmed claims shall be paid pro rata
4
             the balance of the payments under the Plan and any unsecured debt balance remaining
 5           unpaid upon completion of the Plan may be discharged as provided in 11 U.S.C. § 1328.
 6    (D) EFFECTIVE DATE AND VESTING. The effective date of the Plan shall be the date of this
 7    Order. Property of the estate vests in Debtors upon confirmation ,subject to the l'ights of the

 8    Trustee to assert a claim to any additional property of the estate pursuant to 11 U.S.C. § 1306.

 9
                                          ORDER SIGNED ABOVE
10
11
12    Approved as to Form and Content By:
13
14

15
16
17

18

19

20
21
22          The Debtor certifies: All required State and redernl income tax returns have been filed.
      No domestic support obligation is owed or, if owed, such payments nre current since the filing of
23
      thePet'i~
24

25
26

                                                                                                   /11 Re: 1Jn11e
                                                                                              2-19-BK-07845-MCW




     Case 2:19-bk-07845-MCW            Doc 27 Filed 12/10/19 Entered 12/11/19 07:52:23                         Desc
                                       Main Document    Page 4 of 6
1                   (b) The Plan and Order shall not constitute an informal proof of claim for any

2                   creditor.
             (7) Unsecured Nonpriority Claims. Claims allowance is determined by § 502 and the
3
            Federal Rules of Bankruptcy Procedure. Allowed unsecured claims shall be paid pro rata
4
            the balance of the payments under the Plan and any unsecured debt balance remaining
 5
            unpaid upon completion of the Plan may be discharged as provided in 11 U.S .C. § 1328.
 6   (D) EFFECTIVE DATE AND VESTING. The effective date of the Plan shall be the date of this
 7   Order. Property of the estate vests in Debtors upon confirmation ,subject to the rights of the

8    Trustee to assert a claim to any additional property of the estate pursuant to 11 U.S.C. § 1306.

 9
                                        ORDER SIGNED ABOVE
10

11

12
     Approved as to Form and Content By:
13

14
     Edward J. Maney, Trustee
15

16
17   Tom McAvity
     Attorney for D btor
18

19

20

21

22           The Debtor certifies: All required State and Federal income tax returns have been filed.
     No domestic suppmi obligation is owed or, if owed, such payments are current since the filing of
23   the Petition.
24
25   Joshua D. Bane
     Debtor
26

                                                                                                 In Re: Bane
                                                                                            2- I 9-BK-07845-MCW


     Case 2:19-bk-07845-MCW           Doc 27 Filed 12/10/19 Entered 12/11/19 07:52:23                 Desc
                                      Main Document    Page 5 of 6
          ,-,   (



I~~
2     Debtor
3

4

5
6

7

 8

 9
10
11
12

13
14
15
16
17

18
19
20
21

22

23

24

25
26

                                                                         /11 Re: /Ja11e
                                                                     2-l 9-BK-07845-MCW




     Case 2:19-bk-07845-MCW   Doc 27 Filed 12/10/19 Entered 12/11/19 07:52:23        Desc
                              Main Document    Page 6 of 6
